 

Case 4:21-cr-00126-SDJ-KPJ Document 73 Filed 06/11/21 Page 1of 2 PagelD#: 236

IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TEXAS

UNITED STATES OF AMERICA
4:21-CR-126 (8)

Vv.

FREDERICK BRITTON (8) et al.

ALL LLP Lr

WAIVER OF SPEEDY TRIAL

TO THE HONORABLE JUDGE:

COMES NOW, Frederick Britton, Defendant in the above styled and numbered cause,
pursuant to the provisions of 18 U.S.C. §3161, et. seq, and states that he has consulted with
his counsel conceming the provisions of the speedy trial act and is aware of the consequences of
waiving his nght to discharge under that act and waives his right to a speedy trial and his right
to discharge under the act during the period of time of continuance of this cause granted by the
Court, so that his chosen attorney may have adequate opportunity to prepare his defense

consistent with the requirements of the Fifth, Sixth and Fourteenth Amendments to the United

States Constitution.
Dated: June |], 2021
~~ Respectfully Submitted,
/s/E//en M. Karp
Ellen Karp

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Case 4:21-cr-00126-SDJ-KPJ Document 73 Filed 06/11/21 Page 2 of 2 PagelD #: 237

Approved by:

Frederick Britton —
DEFENDANT
CERTIFICATE OF SERVICE

I certify that on June // , 2021, a true and correct copy of the above and foregoing instrument
was served on all counsel of record through the Courts CM/ECF electronic filing system.

/s/ Ellen M. Karp
Ellen Karp
